Case 9:23-cr-80101-AMC Document 663 Entered on FLSD Docket 07/05/2024 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

   UNITED STATES OF AMERICA,

   vs.                                               Case No. 23-80101-CR
                                                     CANNON/REINHART
   DONALD J. TRUMP, et al.,

                  Defendants.


    PRESIDENT DONALD J. TRUMP’S NOTICE OF SUPPLEMENTAL AUTHORITY

         President Trump respectfully submits this Local Rule 7.8 Notice regarding the impact of

  Trump v. United States on pending motions relating to Presidential immunity and the

  Appointments and Appropriations Clauses.

         Trump guts the Office’s position that President Trump has “no immunity” and further

  demonstrates the politically-motivated nature of their contention that the motion is “frivolous.”

  ECF No. 376 at 6, 20. Trump also confirms that the Office cannot rely on “official acts” evidence

  in this case. 2024 WL 3237603, at *19; ECF No. 324 at 16-18. By separate motion, we seek leave

  to submit supplemental briefing on these threshold issues.

         Justice Thomas’s concurrence in Trump adds force to the motions relating to the

  Appointments and Appropriations Clauses. Justice Thomas cited Justice Scalia’s Morrison

  dissent, which is consistent with Justice Kavanaugh’s comment at oral argument in Trump that

  Morisson was “one of the Court’s biggest mistakes.” 4/25/24 Tr. 142:12-14. Highlighting grave

  separation-of-powers concerns, Justice Thomas suggested that 28 U.S.C. §§ 515 and 533 do not

  establish “by Law” Jack Smith’s position under the Appointments Clause. By extension, these

  statutes are not “other law” under the relevant appropriation, and these “essential questions” should

  be addressed “before proceeding.” 2024 WL 3237603, at *25.
Case 9:23-cr-80101-AMC Document 663 Entered on FLSD Docket 07/05/2024 Page 2 of 4




   Dated: July 5, 2024                 Respectfully submitted,

                                       /s/ Todd Blanche / Emil Bove
                                       Todd Blanche (PHV)
                                       toddblanche@blanchelaw.com
                                       Emil Bove (PHV)
                                       emil.bove@blanchelaw.com
                                       Kendra L. Wharton (Fla. Bar No. 1048540)
                                       k.wharton@whartonlawpllc.com
                                       BLANCHE LAW PLLC
                                       99 Wall Street, Suite 4460
                                       New York, New York 10005
                                       (212) 716-1250

                                       /s/ Christopher M. Kise
                                       Christopher M. Kise
                                       Florida Bar No. 855545
                                       ckise@continentalpllc.com
                                       CONTINENTAL PLLC
                                       255 Alhambra Circle, Suite 640
                                       Coral Gables, Florida 33134
                                       (305) 677-2707

                                       Counsel for President Donald J. Trump




                                        2
Case 9:23-cr-80101-AMC Document 663 Entered on FLSD Docket 07/05/2024 Page 3 of 4




                                CERTIFICATE OF CONFERENCE

         I hereby certify that on July 3, 2024, counsel for President Trump and the Special Counsel’s

  Office conferred in good faith regarding this Local Rule 7.8 Notice and the related motion for

  supplemental briefing regarding Presidential immunity in light of Trump v. United States. The

  Special Counsel’s Office does not object to the filing of this Notice and plans to submit a response

  pursuant to Local Rule 7.8.

                                                       /s/ Kendra L. Wharton
                                                       Kendra L. Wharton




                                                   3
Case 9:23-cr-80101-AMC Document 663 Entered on FLSD Docket 07/05/2024 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I, Kendra L. Wharton, certify that on July 5, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                    /s/ Kendra L. Wharton
                                                    Kendra L. Wharton




                                               4
